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               From: Peter Schatschneider <pete@student-resource.org>
                  To: "skish@neamb.com" <SKish@neamb.com>, "Bhattacharya, Moumita [MB]"
                      <MBhattacharya@neamb.com>, "Effross, Hope [MB]" <HEffross@neamb.com>,
                      "Matamoros, Erika [MB]" <EMatamoros@neamb.com>
                 Cc: Phillip Braithwaite <pbraithwaite@student-resource.org>
             Subject: EGCC Spring Enrollment Updates
                Date: Thu, 27 Oct 2022 19:06:35 +0000
        Importance: Normal
      Inline-Images: image00J .jpg



    Hello Scott, Moumita, Hope & Erika,

    Scott - hope you had a fantastic vacation and welcome back I

    As you are most likely aware, on Friday, October 21st, Eastern Gateway was granted a preliminary injunction against
    the U.S. Department of Education's cease-and-desist action which prohibited new students from enrolling in the
    program and left current students unclear as to whether they could maintain their enrollment at EGCC under the Free
    College Benefit.

    With this ruling, EGCC indicated they planned to open spring registration for students on Tuesday, October 25th.

    You can read the full press release here if you have not already done so: htt12s://egcc.edu/J;1ress-release/

    While this ruling provides a temporary path forward, it is a ruling on due process and not the program itself, which
    remains under review by the DOE. In the short-term, this means at least currently enrolled students will be able to
    enroll at EGCC under the Free College Benefit for the Spring term. However, it is still uncertain if students will be able to
    maintain their enrollment at EGCC under the Free College Benefit beyond the spring term.

    As part of this ruling and response, SRC is in the process of updating all active SRC hosted Microsites and subdomains
    with the following verbiage and adding the disclaimer to all our written and verbal communications with students :

        • EGCC spring 2023 enrollment is currently open .
             o Students interested in enrolling at EGCC should work with EGCC to determine their enrollment options
                and be sure they fully understand potential their future enrollment status and financial liability. EGCC is
                responsible for determining whether the Free College Benefit program is Title IV compliant.

    Please let me know if you have any questions or concerns regarding these updates.

    I will be sending a separate email to schedule time to get the latest update from you on the -                partner vetting
    process and hopefully go to over the specific details for the spring pilot program shortly.

    Looking forward to working together on this exciting initiative.

    Many Thanks,

    Pete Schatschneider
    SVP, Marketing
    Student Resource Center
    Rete@student-resource.org                                                                                     DEFENDANT'S
    813.416.1434                                                                                              j     EXHIBIT

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